           Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 1 of 8



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 SHELIA FRANKLIN
 2220 Stream Vista Place, Apt. 305
 Waldorf, Maryland 20601

 MARIA CLAROS
 2335 Maytime Drive
 Gambrills, Maryland 21054

 SHERI RAINGE
 8301 Windemere Drive
 Pasadena, Maryland 21122

 Each Plaintiff, individually and on behalf
 of all others similarly situated,

               Plaintiffs,
 v.                                              Civil Action No. ___________________

 BJ’S WHOLESALE CLUB, INC.
 25 Research Drive
 Westborough, Massachusetts 01581

 SERVE ON:

The Corporation Trust, Incorporated
2405 York Road
Suite 201
Lutherville Timonium, Maryland 21093-2264

               Defendant.


                      ADEA COLLECTIVE ACTION COMPLAINT

       The Plaintiffs, Shelia Franklin, Maria Claros and Sheri Rainge, by their attorneys, James

M. Ray, II and Ray Legal Group, LLC, and on behalf of themselves and similarly situated

employees of BJ’s Wholesale Club, Inc., hereby sue BJ’s Wholesale Club, Inc. for violations of

the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. §§ 621, et seq., and allege as

follows:
             Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 2 of 8



                                             PARTIES

        1.      Plaintiffs Maria Claros, Shelia Franklin, and Sheri Rainge are each citizens of the

State of Maryland.

        2.      Defendant BJ’s Wholesale Club, Inc. (“Defendant” or “BJHC”) is a Delaware

corporation with its principal place of business in Westborough, Massachusetts. BJHC operates

thirteen stores and facilities in the State of Maryland, including stores and facilities in Baltimore,

Bel Air, Bowie, Canton – Baltimore, Capitol Heights, Columbia, Columbia Gas Station, Easton,

Lexington Park, Owings Mills, Pasadena, Waldorf and Westminster.

                                  JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 over the

Plaintiffs’ claims brought under the ADEA. A collective action under the ADEA is authorized

under 29 U.S.C. § 626(b) which incorporates the provisions of 29 U.S.C. § 216, including the

collective action provisions of the Fair Labor Standard Act under 29 U.S.C. § 216(b).

        4.      This Court has personal jurisdiction over the Defendant because the Defendant

employs persons residing within the State of Maryland, including the Plaintiffs, and transacts

business and performs work and services within the State of Maryland.

        5.      Venue in this District is proper as the events giving rise to the claims occurred

within this District.

        6.      As evidenced by the attached consents, each Plaintiff consents to be a plaintiff in

this collective action seeking relief under the ADEA. See Exhibits 1, 2 and 3.

                              FACTS COMMON TO ALL COUNTS

                                       Plaintiff Maria Claros

        7.       Plaintiff Maria Claros began her employment with the Defendant on October 12,

                                                  2
             Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 3 of 8



2004.

        8.      Ms. Claros, at all relevant times, was forty-eight (48) years old.

        9.      At all relevant times, Plaintiff Maria Claros was employed in Maryland as a

Produce Supervisor earning $27.69 per hour.

        10.     At all relevant times, Plaintiff Maria Claros completed her job duties in a competent

manner and met the Defendant’s reasonable expectations.

        11.     On or around March 22, 2021, Plaintiff Maria Claros was notified by the Defendant

that she was being “demoted” to a Produce Clerk and that her pay rate would be reduced to $17.85

per hour. Even though Plaintiff Maria Claros was allegedly “demoted,” and her pay rate reduced,

she was still required to perform the same duties as she did as a Produce Supervisor. The

Defendant stated that if Ms. Claros refused to accept the “demotion” her employment would be

terminated.

        12.     Any reason for Ms. Claros’ demotion was a pre-text for Defendant’s actual

motivation, to discriminate against older employees, such as Ms. Claros, due to their being over

forty (40) years old.

        13.     On or about May 6, 2021, Ms. Claros filed a charge of discrimination with the

EEOC alleging age discrimination under the ADEA. Charge No. 531-2021-02047. On or about

June 14, 2021, the EEOC issued a Notice of Right to Sue letter. More than sixty (60) days have

passed since Ms. Claros filed her charge of discrimination with the EEOC. Ms. Claros has

complied with all conditions precedent to filing this action.

                                      Plaintiff Shelia Franklin

        14.     Plaintiff Shelia Franklin began her employment with the Defendant on November

14, 2004.

                                                  3
          Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 4 of 8



       15.     Ms. Franklin, at all relevant times, was fifty-three (53) years old.

       16.     At all relevant times Plaintiff Shelia Franklin was employed in Maryland as a

Produce Supervisor earning $25.96 per hour.

       17.     At all relevant times, Plaintiff Shelia Franklin completed her job duties in a

competent manner and met the Defendant’s reasonable expectations.

       18.     On or around March 22, 2021, Plaintiff Shelia Franklin was notified by the Defendant

that she was being “demoted” to a Produce Clerk and would be earning $19.95 per hour. Even though

Plaintiff Shelia Franklin was being “demoted,” and her pay rate reduced, she was required to perform

the same duties as she did as a Produce Supervisor. The Defendant stated that if Ms. Franklin refused

to accept the “demotion” that her employment would be terminated.

       19.     Any reason for Ms. Franklin’s demotion was a pre-text for Defendant’s actual

motivation, to discriminate against older employees, such as Ms. Franklin, due to their being over

forty (40) years old.

       20.     On or about May 6, 2021, Ms. Franklin filed a charge of discrimination with the

EEOC alleging age discrimination under the ADEA. Charge No. 531-2021-02041. On or about

June 7, 2021, the EEOC issued a Notice of Right to Sue letter. More than sixty (60) days have

passed since Ms. Franklin filed her charge of discrimination with the EEOC. Ms. Franklin has

complied with all conditions precedent to filing this action.

                                       Plaintiff Sheri Rainge

       21.     Plaintiff Sheri Rainge began her employment with the Defendant on May 23, 1997.

       22.     Ms. Rainge, at all relevant times, was fifty-five (55) years old.

       23.     At all relevant times, Plaintiff Sheri Rainge was employed in Maryland as a

Receiving Clerk earning $20.32 per hour.

                                                  4
          Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 5 of 8



       24.     At all relevant times, Plaintiff Sheri Rainge completed her job duties in a competent

manner and met the Defendant’s reasonable expectations.

       25.     On or around March 22, 2021, Plaintiff Sheri Rainge was notified by the Defendant

that she was being “demoted” to a Scan Coordinator and would be earning $17.50 per hour. In

addition, the Defendant changed her hours to the graveyard shift (3:00 a.m. – 11:00 a.m.). Even

though Plaintiff Sheri Rainge was “demoted,” and her pay reduced, she would have been required

to perform the same duties as she did as a Receiving Clerk. Ms. Sheri Rainge was forced to accept

a daytime position as a Cashier earning $17.50 per hour so that she could maintain full-time

employee benefits. The Defendant stated that if Ms. Rainge refused to accept the “demotion” that

her employment would be terminated.

       26.     Any reason for Ms. Rainge’s demotion was a pre-text for Defendant’s actual

motivation, to discriminate against older employees, such as Ms. Rainge, due to their being over

forty (40) years old.

       27.     On or about May 6, 2021, Ms. Rainge filed a charge of discrimination with the

EEOC alleging age discrimination under the ADEA. Charge No. 531-2021-02048. On or about

June 2, 2021, the EEOC issued a Notice of Right to Sue letter. More than sixty (60) days have

passed since Ms. Rainge filed her charge of discrimination with the EEOC. Ms. Rainge has

complied with all conditions precedent to filing this action.

                                  Additional Factual Allegations

       28.     BJHC engaged in discriminatory pattern, practice and policy directed against older

employees (who were aged 40 years or older) by imposing decreased hourly pay rates and

“demotions” on those employees.

       29.     The Defendant sought to reduce the pay rates of the Plaintiffs and other older

                                                 5
          Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 6 of 8



employees in late March 2021 even as the Defendant was announcing in a March 4, 2021 press

release that “2020 was a remarkable, transformative and challenging year that structurally changed

our business for the better. While the unique circumstances brought on by the pandemic provided

tailwinds, our industry-leading results and significant market share gains demonstrate the strength

of our execution in these challenging times.” The Defendant’s “[g]ross profit increased to $742.6

million in the fourth quarter of fiscal 2020 from $622.2 million in the fourth quarter of fiscal 2019.”

       30.      Younger/lower-paid similarly situated co-workers were not “demoted” or forced to

accept reductions in their hourly pay rates.

                            COLLECTIVE ACTION ALLEGATIONS

       31.      The Plaintiffs, on behalf of themselves and other similarly situated persons who

worked at Defendant BJHC in Maryland during the relevant period, are pursing the herein alleged

ADEA claim as a collective action pursuant to ADEA § 621.

       32.      Similarly situated employees, for purposes of this ADEA collective action,

include persons who:

             a. worked at a BJHC store or facility in Maryland;

             b. were told by BJHC, on or after January 1, 2021, that the employee had to accept

                a “demotion” and/or reduction in the hourly pay rate or that the employee’s

                employment would be terminated;

             c. accepted the “demotion” and/or a reduction in hourly pay rate; and

             d. were forty (40) years or older at the time.




                                                  6
            Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 7 of 8



                                             COUNT I
                           (ADEA Discrimination—29 U.S.C. §§ 623)
 (Plaintiff Maria Claros, Plaintiff Shelia Franklin, and Plaintiff Shari Rainge, Each Individually,
                        and on Behalf of Similarly Situated Employees v.
                               Defendant BJ’s Wholesale Club, Inc.)

          33.   The Plaintiffs incorporate by reference the preceding allegations as if set forth fully

herein.

          34.   Each Plaintiff and each similarly situated employee of the Defendant is an

“employee” under ADEA, as each Plaintiff and each similarly situated employee employed by the

Defendant. See 29 U.S.C. § 630(f).

          35.   Each Plaintiff and each similarly situated employee is at least forty (40) years of

age. See 29 U.S.C. § 631.

          36.   The Defendant is an “employer” under the ADEA as the Defendant is a corporation

that is “engaged in an industry affecting commerce who has twenty or more employees for each

working day in each of twenty or more calendar week in the current or preceding calendar year, ”

including employing more than twenty employees at its Maryland stores and facilities. See 29

U.S.C. §§ 630(a) & 630(b).

          37.   The ADEA states that “[i]t shall be unlawful for an employer… to limit, segregate,

or classify his employees in any way which would deprive or tend to deprive any individual of

employment opportunities or otherwise adversely affect his status as an employee, because of such

individual's age….” 29 U.S.C. § 623(a)(2).

          38.   The Defendant maintains discriminatory policies, patterns and/or practices that

have an adverse and disparate impact on employees who are forty (40) years of age or older in

violation of the ADEA and that are not, and cannot be, justified by reasonable factors other than

age, including the policy, pattern and practices of “demoting” such employees and paying such

                                                  7
             Case 8:21-cv-01855-PWG Document 1 Filed 07/26/21 Page 8 of 8



employees a lower hourly rate even though such employees continue to have the same

responsibilities and duties.

        39.     As a direct result of the Defendant’s discriminatory policies, patterns and practices,

the Plaintiffs and similarly situated BJHC employees forty (40) years old and older have suffered

damages, including but not limited to lost past and future income, compensation and benefits.

        40.     The Defendant’s policies, patterns and practices have an unlawful disparate impact

on employees ages 40 years and older in violation of 29 U.S.C. § 623(a)(2).

        WHEREFORE, the Plaintiffs and similarly situated employees demand the following:

        A.      Certification of a collective action under 29 U.S.C. § 621;

       B.      A preliminary and permanent injunction against the Defendant and its officers, agents,
successors, employees, representatives, and any and all persons acting in concert with them, from
engaging in policies, patterns, and/or practices that discriminate against the Plaintiffs and the collective
members because of their age;

        C.       An order that the Defendant institute and carry out policies, practices, and programs
that eradicate the effects of their past and present unlawful employment practices; and

       D.       An award of damages against the Defendant in favor of the Plaintiffs and the collective
members for front pay, back pay, lost benefits, liquidated damages, reasonable counsel fees and costs,
and any other relief deemed appropriate by the Court.


                                                       Respectfully Submitted,

                                                       RAY LEGAL GROUP, LLC

                                                 By:      /s/ James M. Ray
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                                                     8
